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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION

                                                                   CASE NO.: 3:19-bk-02193-JAF
In Re:                                                             CHAPTER 7

Denval Sinclair Edwards, Jr.

      Debtor
_______________________________/


                        MOTION FOR RELIEF FROM AUTOMATIC STAY
                                   FILED BY PINGORA

                     NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING


 Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper without further notice or hearing
 unless a party in interest files a response within twenty-one (21) days from the date set forth on the attached proof of
 service plus an additional three (3) days for service if any party was served by U.S. Mail.

 If you object to the relief requested in this paper, you must file a response with the Clerk of Court at 300 N. Hogan
 Street, Suite 3-150, Jacksonville, Florida 32202-4267, and serve a copy on the movant’s attorney Jason Weber, Esq. at
 Sirote & Permutt, P.C., 1000 Corporate Drive, Suite 150, Ft. Lauderdale, Florida 33334, and any other appropriate
 persons within the time allowed. If you file and serve a response within the time permitted, the Court will either schedule
 and notify you of a hearing, or consider the response and may grant or deny the relief requested without a hearing.

 If you do not file a response within the time permitted, the Court will consider that you do not oppose the relief requested
 in the paper, will proceed to consider the paper without further notice or hearing, and may grant the relief requested.




         COMES NOW Pingora Loan Servicing, LLC, as serviced by Flagstar Bank, FSB, its

principals, investors, successors, and/or assigns, if any, (hereinafter "Secured Creditor"), by and

through its undersigned counsel of record, Sirote & Permutt, P.C., and moves this Honorable Court

to lift the automatic stay in the above-referenced Debtor’s Chapter 7 bankruptcy and in support

thereof, the Creditor avers as follows:

    1. This Honorable Court has jurisdiction to hear these matters and enter final orders pursuant

         to 28 U.S.C. §§ 157 and 1334; and 11 U.S.C. § 362. The Motion for Relief from Automatic
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   Stay constitutes a core proceeding and is a contested matter pursuant to Fed. R. Bankr. P.

   4001(a) and 9014.

2. The Debtor listed above (the “Debtor”) filed a voluntary petition pursuant to Chapter 7 of

   the Bankruptcy Code on June 10, 2019.

3. The Debtor obtained a loan in the amount of $230,733.00 which was evidenced by a

   Promissory Note dated February 27, 2015 (the “Note”). See “Exhibit A” attached hereto.

4. Denval S Edwards Jr and Monique McDougall Lewis, husband and wife, executed a

   Mortgage dated February 27, 2015 (the “Mortgage”), to and in favor of DHI Mortgage

   Company, Ltd. and granted a first mortgage lien on real property (the “Property”) located

   at 502 Deercroft Lane, Orange Park, FL 32065, and legally described as:




5. The Mortgage was recorded on March 10, 2015, in Book 3726, Pages 786-796 of the Public

   Records of Clay County. See “Exhibit B” attached hereto.

6. The Debtor is indebted to Secured Creditor in the amount of $236,741.94 principal balance,

   plus any additional interest, advances, costs and attorneys’ fees advanced by Secured

   Creditor, pursuant to the loan documents. See “Exhibit C” attached hereto.

7. The Debtor has failed to remit payment to Secured Creditor since the installment due on

   February 1, 2018 and, therefore, the interests of Secured Creditor are not being adequately

   protected.

8. Upon information and belief, said property has not been claimed exempt and pursuant to

   the duly filed Statement of Intentions, the property is being surrendered. The property has

   not been abandoned by the Trustee.
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9. Secured Creditor maintains that cause exists pursuant to 11 U.S.C. § 362(d)(1) for the

   automatic stay to be lifted to allow Secured Creditor to pursue in rem remedies given that

   its interests are not being adequately protected due to the failure of the Debtor(s) to make

   payments prior to the filing of the instant bankruptcy petition and that there is no equity in

   the subject property for the benefit of unsecured creditors of the estate.

10. Furthermore, Secured Creditor’s security interest in the property is being significantly

   jeopardized by the Debtor(s) failure to make said payments while Secured Creditor is

   prohibited from pursuing lawful remedies to protect said security interest.

11. Secured Creditor has incurred attorneys’ fees of $750.00 and costs of $181.00 as a result

   of having to file this Motion. Secured Creditor seeks an award of its fees and costs or,

   alternatively, leave to seek recovery of its reasonable bankruptcy attorneys’ fees and costs

   in any pending or subsequent foreclosure action.

12. Secured Creditor respectfully requests the Court waives the fourteen (14) day stay of the

   Order Granting Relief pursuant to Bankruptcy Rule 4001(a)(3), so Secured Creditor can

   pursue its in rem remedies without delay.

13. Pursuant to 11 U.S.C. § 362(e), Secured Creditor hereby requests that in the event a hearing

   is necessary that one be held within thirty (30) days.

14. Secured Creditor requests that the Court Order provides that all communications sent by

   Secured Creditor in connection with proceedings against the property including, but not

   limited to, notices required by state law and communications to offer and provide

   information with regard to a potential Forbearance Agreement, Loan Modification,

   Refinance Agreement, Loss Mitigation Agreement, or other Loan Workout, may be sent to

   the Debtor(s).
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   WHEREFORE, Secured Creditor respectfully requests that the automatic stay be lifted so

that it may pursue in rem remedies to protect its security interests in the Debtor(s) property outside

of the bankruptcy forum, that the fourteen (14) day stay of the Order Granting Relief pursuant to

Bankruptcy Rule 4001(a)(3) be waived, that Secured Creditor be awarded its attorneys’ fees and

costs for filing this Motion, that in the event a hearing is necessary that one be held within thirty

(30) days, that the Order be binding and effective despite any conversion of this bankruptcy case

to a case under any other chapter of Title 11 of the United States Code, that Secured Creditor have

relief from applicable provisions of FRBP 3002.1 and for such other relief as the Court may deem

just and proper.


   I HEREBY CERTIFY in accordance with Fed. R. Bankr. P. 4001(a), 9014, and 7004 that a

copy of the above and foregoing Motion for Relief from the Automatic Stay was mailed, first class

                                                  QG day of _____________,
postage prepaid and or by Electronic Filing this ______        -XO\          2019.


                                                       Respectfully submitted,

                                                      s/Jason A. Weber
                                                      Jason A. Weber, Esq.
                                                      Fla. Bar No. 0051681
                                                      Counsel for Secured Creditor
OF COUNSEL:
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Copies furnished to:

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Email: mousa@mousalaw.com

Trustee
Doreen Abbott
PO Box 56257
Jacksonville, FL 32241-6257

U.S. Trustee
United States Trustee - JAX 13/7
Office of the United States Trustee
George C Young Federal Building
400 West Washington Street, Suite 1100
Orlando, FL 32801
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